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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 JERRY T. IRWIN,                                   Case No. 20‐CV‐1521 (NEB/HB)

                      Plaintiff,

 v.                                             ORDER ACCEPTING REPORT AND
                                                    RECOMMENDATION
 STEVE SHYDOCK, officer; BRIAN
 NINNEMAN, unit director; SHELBY
 HALVERSON, officer; and BRITT
 ANDERSON, officer,

                      Defendants.



       The Court has received the September 9, 2020 Report and Recommendation of

United States Magistrate Judge Hildy Bowbeer. (ECF No. 7.) No party has objected to that

Report and Recommendation, and the Court therefore reviews it for clear error. See Fed.

R. Civ. P. 72(b); Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (per curiam). Finding

no clear error, and based upon all the files, records, and proceedings in the above‐

captioned matter, IT IS HEREBY ORDERED THAT:

          1. The Report and Recommendation (ECF No. 7) is ACCEPTED;

          2. Plaintiff Jerry T. Irwin’s application to proceed in forma pauperis (ECF No.

              2) is DENIED;

          3. Irwin’s motion for appointment of counsel (ECF No. 4) is DENIED; and
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         4. This matter is DISMISSED WITHOUT PREJUDICE.




Dated: October 21, 2020                   BY THE COURT:

                                          s/Nancy E. Brasel
                                          Nancy E. Brasel
                                          United States District Judge




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